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                                                UNITED STATES DISTRICT COURT
                                                       Eastern District of New York
           UNITED STATES OF AMERICA                                    Presiding Judge: ______________________________________
                                                                                        Joanna Seybert, Senior U.S.D.J.
                       -v-                                             Case No(s).:     ______________________________________
                                                                                        24-cr-0463-JS-LGD
      ______________________________________
                  Renee Hoberman                                       Date:            ____________
                                                                                        1/8/2025
                                                                       Start Time:      ____________
                                                                                        10:51 AM     Total Time: _______________
                                                                                                                 10 mins.

                                               MINUTE ENTRY FOR A CRIMINAL PROCEEDING

                                                     SEALED PROCEEDING: ☐ Yes ☐
                                                                              ✔No

I. APPEARANCES:

Defendant (# ____
              1 ): ________________________________________
                   Renee Hoberman                                      Counsel: ___________________________________________________
                                                                                Evan Sugar
☐
✔Present ☐ Not Present ☐
                       ✔In Custody ☐ On Bond ☐ Surrendered             ☐ Retained ☐✔Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Government:           _________________________________________
                      Kaitlin McTague                                  Interpreter(s):     ___________________________________________
                      _________________________________________        Language:           ____________________
Pretrial Services:    _________________________________________        Court Reporter(s): ___________________________________________
                                                                                          Marie Foley
Probation Dept.:      _________________________________________                            ___________________________________________
Other Appearances: _________________________________________           FTR Time(s):        ___________________________________________
                      _________________________________________        Courtroom Deputy: ___________________________________________
                                                                                         Eric L. Russo
                      _________________________________________

II. PROCEEDINGS HELD:

☐
✔In-Person                 ☐ Arraignment (see pg. 2)            ☐ Initial Appearance (see pg. 2)       ☐ Plea Hearing (see pg. 4)
☐ By Telephone             ☐ Bond Hearing (see pg. 5)           ☐ Jury Deliberation (see pg. 3)        ☐ Pre-Trial Conference (see pg. 2)
☐ By Video                 ☐ Curcio Hearing (see pg. 3)         ☐ Jury Selection (see pg. 3)           ☐ Resentencing (see pg. 4)
                           ☐ Detention Hearing (see pg. 5)      ☐ Jury Trial (see pg. 3)               ☐ Sentencing (see pg. 4)
                           ☐ Evidentiary Hearing (see pg. 2)    ☐ Motion Hearing (see pg. 2)           ☐
                                                                                                       ✔Status Conference (see pg. 2)
                           ☐ Fatico Hearing (see pg. 2)

☐ Other Proceeding: ________________________________________
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III. SUMMARY OF THE PROCEEDINGS:

☐
✔ ____________________
  Status Conference         held as to ________________________________________________________________________________.
                                       the charges outlined in the Indictment filed 11/14/2024
  ☐ This was an initial appearance before this Court by Defendant ____________.
                                                                            1
  ☐ Defendant ____________ waived Indictment.
      ☐ Waiver of Indictment executed by Defendant ____________.
  ☐ Defendant ____________ waived the public reading of the charging instrument.
  ☐ Defendant ____________ was advised of, and acknowledged, the charges outlined in the charging instrument.
  ☐ The Government was advised of, and acknowledged, its obligation under F.R.Cr.P. Rule 5(f) and the Due Process Protections Act.
      ☐ A written order will be entered fully describing this obligation and the possible consequences of failing to meet it.
  ☐ Defendant ____________ entered a plea of NOT GUILTY as to all counts of the charging instrument.
  ☐
  ✔ The parties advised the Court of the status of the case.
  ☐
  ✔ Defendant ____________
                        1        consented to the exclusion of Speedy Trial time from ____________
                                                                                           1/8/2025 to ____________
                                                                                                          2/21/2025 pursuant to
      Title 18, United States Code, Section 3161(h)(7)(A): Time excluded due to other factors/circumstances and/or in the interest of justice   .
  ☐ Defendant ____________ did not consent to the exclusion of Speedy Trial time.
  ☐ The Court ordered the exclusion of Speedy Trial time from ____________ to ____________ pursuant to
      Title 18, United States Code, Section 3161                                                                                                .
  ☐ The Court deemed, or previously deemed, this case complex and Speedy Trial time was excluded pursuant to
      Title 18, United States Code, Section 3161(h)(7)(B)(ii).
  ☐ The Court deemed, or previously deemed, this case TRIAL READY.
      ☐ The Court set the following pre-trial submission schedule:
          ☐ The Government shall turn over all 3500 material and 404(b) evidence to the defendant(s) by ____________.
          ☐ Motion(s) in Limine and all supporting papers shall be filed by ____________.
          ☐ Opposition(s) to Motions in Limine and all supporting papers shall be filed by ____________.
          ☐ Reply(ies) to Motions in Limine and all supporting papers shall be filed by ____________.
          ☐ Proposed voir dire questions and a brief case summary shall be filed by ____________.
          ☐ Proposed exhibits and a witness list shall be filed by ____________.
          ☐ Proposed jury charge and verdict sheet shall be filed by ____________.
          ☐ The Court will not grant any extensions of the deadlines set forth above.
          ☐ The parties are directed to submit courtesy copies of their submissions in accordance with the Court’s Individual Rules (see Rule IV).
          ☐ The parties are directed to e-mail copies of the proposed case summary, voir dire questions, witness list, jury charge, and verdict
              sheets in Word format to the Chambers e-mail at “Seybert_Chambers@nyed.uscourts.gov”.
      ☐ The parties were directed to file a proposed pre-trial submission schedule on or before ____________.
      ☐ The Court will enter a separate order outlining the pre-trial submission schedule.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ ____________ Hearing held.
  ☐ Hearing held regarding ______________________________________________________________________________________.
  ☐ The parties presented their oral arguments to the Court.
  ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
  ☐ Exhibits were entered into evidence.
  ☐ The following briefing schedule was set:
     ☐ _______________ shall file and serve the motion and all supporting papers by ____________.
     ☐ _______________ shall file and serve the opposition to the motion and all supporting papers by ____________.
     ☐ _______________ shall file and serve the cross-motion and all supporting papers by ____________.
     ☐ _______________ shall file and serve the reply and all supporting papers by ____________.
     ☐ _______________ shall file and serve the opposition to the cross motion and all supporting papers by ____________.
     ☐ _______________ shall file and serve the reply to the cross motion and all supporting papers by ____________.
     ☐ The Court will not grant any extensions of the deadlines set forth above.
     ☐ The parties are directed to submit courtesy copies of their submissions in accordance with the Court’s Individual Rules (see Rule IV).
  ☐ The parties were directed to file a proposed briefing schedule on or before ____________.
  ☐ The Court will enter a separate order outlining the briefing schedule.
  ☐ The Court made the following ruling(s):
     ☐ GRANTED as to _______________________________________________________________________________________.
     ☐ DENIED as to _______________________________________________________________________________________.
     ☐ GRANTED, in part, as to _______________________________________________________________________________________.
     ☐ Decision RESERVED as to _______________________________________________________________________________________.
  ☐ The Court’s decision: ☐ was entered on the record; ☐ will be entered under a separate order.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
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☐ Curcio Hearing held as to Defendant ____________.
  ☐ Attorney _________________________ (☐ Federal Defender ☐ CJA) was appointed to represent the defendant for purposes of this hearing.
  ☐ The parties presented their oral arguments to the Court.
  ☐ The defendant was informed of the potential dangers arising from any conflicts of interest with current defense counsel.
  ☐ The defendant acknowledged and waived any potential conflicts of interest and wishes to proceed with current defense counsel.
  ☐ The defendant requested that current counsel be relieved and:
     ☐ that the defendant will retain new counsel.
         ☐ The defendant must retain new counsel: ☐ by ____________; ☐ within ____________________ of this hearing.
     ☐ that the Court appoint new counsel.
         ☐ The defendant completed and filed the CJA 23 Financial Affidavit for the Court’s review.
  ☐ The Court’s decision: ☐ was RESERVED; ☐ was entered on the record; ☐ will be entered under a separate order.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Selection/Voir Dire held.
  ☐ The Court ordered the jury to be: ☐ anonymous; ☐ sequestered; ☐ semi-sequestered; ☐ ____________________.
  ☐ The prospective jurors were sworn and given preliminary instructions by the Court.
  ☐ The prospective jurors were asked questions touching upon their qualifications to serve as jurors.
  ☐ A jury of ________, with ________ alternates, were selected and are satisfactory to all parties.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Trial held.
  ☐ A jury of ________, with ________ alternates, previously selected by ______________________________, are satisfactory to all parties.
  ☐ The selected jurors were sworn as trial jurors.
  ☐ The jurors were given preliminary instructions by the Court.
  ☐ Opening statements were heard from the: ☐ Government; ☐ Defense Counsel.
  ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
  ☐ Exhibit(s) were entered into evidence.
  ☐ The Government rested its case.
  ☐ The defense rested its case.
  ☐ A Charge Conference was held with the Court and counsel.
  ☐ Summations were heard from the: ☐ Government; ☐ Defense Counsel; ☐ Government (Rebuttal).
  ☐ The Court charged the jury.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Deliberation held.
  ☐ The U.S. Marshal/Court Security Officer was sworn to monitor the jurors during deliberations.
  ☐ Jury Notes were received and marked as Court Exhibits.
  ☐ The Court instructed the jury to continue their deliberations pursuant to Allen v. United States (Allen Charge).
  ☐ The jury rendered the following verdict:
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
  ☐ The jurors were polled as to their verdict.
  ☐ The Verdict Sheet was received and marked as a Court Exhibit.
  ☐ The Court charged the jury on the forfeiture allegation count(s) and instructed them to continue their deliberations.
      ☐ Jury Notes were received and marked as Court Exhibits.
      ☐ The jury rendered their verdict regarding the forfeiture allegation count(s).
      ☐ The jurors were polled as to their verdict.
      ☐ The Special Verdict Sheet was received and marked as a Court Exhibit.
  ☐ The jurors, including alternates, were excused with the thanks of the Court.
  ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
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☐ Plea Hearing held as to count(s) ____________ of the ____________________-count _____________________________________________.
  ☐ The Court’s Standard Plea Form was executed by the parties.
  ☐ The defendant was advised of, and acknowledged, the constitutional rights that will be waived when entering a plea of guilty.
  ☐ The defendant withdrew previously entered not guilty plea and entered a plea of GUILTY to the above referenced count(s).
  ☐ The Court found that the there is a factual basis for the guilty plea and ACCEPTED the defendant’s plea of guilty.
  ☐ An Order of Forfeiture was executed.
  ☐ The Court ordered the U.S. Probation Department to prepare and submit an EXPEDITED Presentence Investigation Report.
  ☐ The parties consented to hold the preparation of the Presentence Investigation Report in ABEYANCE.
  ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
  ☐ The parties WAIVED the preparation of the Presentence Investigation Report.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ ____________ held as to count(s) ____________ of the ____________________-count _____________________________________________.
  ☐ The parties advised the Court that there are no objections or corrections to the Presentence Investigation Report.
  ☐ Objections/Corrections to the Presentence Investigation Report were outlined on the record by: ☐ Defense Counsel; ☐ the Government.
  ☐ The Court adopted the Presentence Investigation Report without change.
  ☐ Changes to the Presentence Investigation Report were made by the Court as stated on the record.
  ☐ Oral presentations to the Court were made by: ☐ Defense Counsel; ☐ the defendant; ☐ the Government.
     ☐ Additional presentations were made to the Court by: ☐ the victim(s); ☐ ____________________; ☐ ____________________.
  ☐ The defendant was sentenced to IMPRISONMENT for a total term of _______________________________________________________.
     ☐ Upon release, the defendant shall be on SUPERVISED RELEASE for a total term of ____________________.
        ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
            ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
        ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
     ☐ The Court did not impose a term of Supervised Release.
  ☐ The defendant was sentenced to TIME SERVED; the post-sentencing report form was executed and sent to the U.S. Probation Department.
  ☐ The defendant was sentenced to PROBATION for a total term of ____________________.
     ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
        ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
     ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
  ☐ The defendant must pay the following criminal monetary penalties:
     ☐ RESTITUTION in the amount of $ ____________________.
        ☐ An Order of Restitution was executed.
     ☐ A FINE in the amount of $ ____________________.
     ☐ A SPECIAL ASSESSMENT fine in the amount of $ ____________________.
     ☐ An AVAA ASSESSMENT fine in the amount of $ ____________________.
     ☐ A JVTA ASSESSMENT fine in the amount of $ ____________________.
  ☐ The interest requirement on any of the criminal monetary penalties:
     ☐ was ordered on the amounts of more than $2,500.00.
     ☐ was modified by the Court as stated on the record.
     ☐ was waived/not ordered/not applicable.
  ☐ Restitution: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
  ☐ A fine and/or other assessment: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
  ☐ The determination of Restitution and/or a fine was deferred pending further proceedings or by further motion to the Court.
  ☐ The Order of Forfeiture dated ____________ was adopted as the Final Order of Forfeiture and will be included as part of the judgment.
  ☐ A Final Order of Forfeiture was executed and will be included as part of the judgment.
  ☐ All other conditions shall remain in effect as previously ordered by the Court on ____________.
  ☐ The defendant’s RIGHT TO APPEAL the Court’s sentence:
     ☐ was waived (pursuant to the Plea/Cooperation Agreement, or as stated on the record).
     ☐ is preserved. The defendant may file an appeal within fourteen (14) days of the date that the judgment is entered, not filed.
  ☐ All open counts in the outstanding charging instrument(s) were dismissed on the motion of the United States.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
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IV. RULINGS MADE REGARDING DEFENDANT RELEASE STATUS:

☐ ____________ Hearing held.
  ☐ Defendant ____________ did not present a bond application to the Court.
     ☐ An Order of Detention was executed as to Defendant ____________.
     ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ____________.
  ☐ The bond application/modification was GRANTED as to Defendant ____________.
     ☐ An Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
     ☐ The conditions of release were modified as to Defendant ____________, as stated on the record.
     ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
  ☐ The bond application/modification was DENIED as to Defendant ____________.
     ☐ An Order of Detention was executed as to Defendant ____________.
  ☐ The Government moved for immediate detention of Defendant ____________.
     ☐ The motion was ☐ GRANTED; ☐ DENIED; ☐ GRANTED, in part.
     ☐ An Arrest Warrant was executed as to Defendant ____________.
     ☐ An Order of Detention was executed as to Defendant ____________.
     ☐ The conditions of release were modified as to Defendant ____________, as stated on the record.
     ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
  ☐ The decision regarding the bond or detention application was RESERVED.
     ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ____________.
     ☐ A temporary Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

For a defendant currently IN-CUSTODY:

☐
✔ Defendant ____________
                  1      remain(s) in custody.

☐ The following orders were executed and shall be forwarded to the U.S. Marshals Service and/or the Federal Bureau of Prisons:
  ☐ A Medical Evaluation Order as to Defendant ____________.
  ☐ A Competency Order as to Defendant ____________.
  ☐ A Force Order as to Defendant ____________.

☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to sentencing/re-sentencing), shall be RELEASED, FORTHWITH.
  ☐ A Time Served Order was executed and submitted to the U.S. Marshals Service.
  ☐ The defendant will be under supervision of the U.S. Probation Department until the completion of the ordered term of Supervised Release.
  ☐ The defendant will not serve a term of Supervised Release.

For a defendant currently AT LIBERTY:

☐ Defendant ____________ remain(s) on bond.

☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall be IMMEDIATELY REMANDED to the custody of the U.S.
  Marshals Service and/or the Federal Bureau of Prisons.

☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall surrender for the service of the sentence before 2:00 PM on ____________
  at the institution designated by the Federal Bureau of Prisons. The defendant will REMAIN AT LIBERTY and under supervision of the Pretrial
  Services Department until the ordered surrender date.
  ☐ The U.S. Marshals Voluntary Surrender form was executed.
  ☐ Any motion to extend the surrender date must be made at least a thirty (30) days prior to the ordered surrender date.
  ☐ The defendant was advised that there will be no extensions of the surrender date.

☐ The defendant, being sentenced to a TERM OF PROBATION, will REMAIN AT LIBERTY and under supervision of the U.S. Probation
  Department until the completion of the ordered term of Probation.

☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released), shall REMAIN AT LIBERTY and under supervision
  of the U.S. Probation Department until the completion of the ordered term of Supervised Release.

☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released as well as time under supervision), SHALL BE
  RELEASED FROM ALL CONDITIONS OF SUPERVISION, FORTHWITH.
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V. FURTHER PROCEEDINGS SET:

☐ No further proceedings have been set at this time.

☐ Bond Hearing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Curcio Hearing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Detention Hearing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Evidentiary Hearing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Fatico Hearing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Jury Deliberation as to Defendant ____________ is set for/shall continue on ____________ at ____________.

☐ Jury Selection as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Jury Trial as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Motion Hearing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Plea Hearing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐ Pre-Trial Conference as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.

☐
✔ Status Conference as to Defendant ____________
                                          1      is set for ____________
                                                              2/21/2025 at ____________
                                                                             10:30 AM
  before ________________________________,
         Judge Joanna Seybert                 ________________________________.
                                               in Courtroom 1030

☐ Sentencing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.
    SEE RULE VII(D)(2) OF THE COURT’S INDIVIDUAL RULES FOR THE FILING OF SENTENCING MEMORANDA.
        ☐ The Government’s sentencing memorandum is due by ____________.
        ☐ The defendant’s sentencing memorandum is due by ____________.
        ☐ All sentencing memorandums have been filed. Further sentencing submissions will not be accepted without prior, written, Court approval.
        ☐ The Government waived the filing of a sentencing memorandum and/or reserved the right to make an oral presentation at sentencing.
        ☐ Defense counsel waived the filing of a sentencing memorandum and/or reserved the right to make an oral presentation at sentencing.

☐ Resentencing as to Defendant ____________ is set for ____________ at ____________
    before ________________________________, ________________________________.
    SEE RULE VII(D)(2) OF THE COURT’S INDIVIDUAL RULES FOR THE FILING OF SENTENCING MEMORANDA.
        ☐ The Government’s sentencing memorandum is due by ____________.
        ☐ The defendant’s sentencing memorandum is due by ____________.
        ☐ All sentencing memorandums have been filed. Further sentencing submissions will not be accepted without prior, written, Court approval.
        ☐ The Government waived the filing of a sentencing memorandum and/or reserved the right to make an oral presentation at sentencing.
        ☐ Defense counsel waived the filing of a sentencing memorandum and/or reserved the right to make an oral presentation at sentencing.

☐ The Court ordered the proceeding(s) above to be held via the Court’s teleconferencing system. Parties are directed to dial the following telephone
  number at the designated time: 877-336-1839, access code 7231185.

☐ The Court ordered the proceeding(s) above to be held by video, via ZoomGov. The parties on the case will be sent a separate notice by the
  Courtroom Deputy with instructions on how to log into the video meeting as the scheduled date for the proceeding approaches.

☐ See Section VI and/or Section VII (page 7) for additional details regarding the proceeding(s) set.
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VI. OTHER RULINGS MADE DURING THE PROCEEDINGS:

☐ The record of this proceeding was deemed SEALED. Transcripts of this proceeding can be made available to the Court, the defendant(s), defense
  counsel, and the Government ONLY. Any other non-party must file a written request to the Court for permission to receive a copy of the transcripts.

☐ The Court made the following rulings:




VII. ADDITIONAL RULINGS:

☐ The Court makes the following additional rulings (not addressed during the proceedings):
